UNITED QQZ%B,'SO%%-%§§%-J&|§JRLBOCUment 62 Filed OZ/l(?E/Kl:g) Page 1 of 2
SOUTHERN DISTRICT oF Nsw YORK

WAVES AUDIO, LTD. and WAVES, INC., : 09 Civ. 2282 (JCF)
a/b/a Us wAvES, INC., =
Consolidated with

Plaintiffs, : 09 Civ. 2284

09 Civ. 2285

 

 

 

 

 

 

- against ~
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RICKY ABOULHOSN, QUADROSONIC
soUND sYSTEMS, INC., d/b/a QUAD
RECORDING sTUDIOs, and JOHN DOES
1-5,
Defendants.
wAvEs AUDIO, LTD., et al.,
Plaintiffs,
, USDSSDNY
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s-REEL RECORDING sTUDIO, et al., : ELECTROAHCALLYIHLED
Defendants. ; DCM`W
DATEFILED:;Z§ZZU
wAvEs AUDIO, LTD., et al., z

 

 

Plaintiffs,
- against -
RECKLESS MUSIC, LLC, et al.,

Defendants.

SAME8 C. F§A§Cl§ 10
UNITED STATES MAGISTRATE JUDGE

A pretrial conference having been. held by telephone on
Febrnary 17, 2010, it is hereby ORDERED as follows:

l. Any pretrial motion shall be filed by March 19, 2010.
Answering papers shall be submitted by April 2, 2010, and reply
papers by April 9, 2010.

2. The trials shall proceed back-to"back, commencing on May

Case 1:09-Cv-O2282-.]CF Document 62 Filed 02/17/10 Page 2 of 2

 

3, 20l0.
SO ORDERED.
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AMES C. FRANCIS lV
ITED STATES MAGISTRATE JUDGE
Dated: New York, New York

February 17, 2010
Copies mailed this date:

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